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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
      v.                                    ) CASE NO. 2:12-CR-87-WKW
                                            )              [WO]
WILLIE JEROME DAVIS                         )

                  MEMORANDUM OPINION AND ORDER

      On January 10, 2013, the Magistrate Judge filed a Recommendation (Doc.

# 356) regarding Defendant Willie Davis’s Motions to Suppress (Docs. # 181, 182).

Defendant timely objected. (Doc. # 419.) The court reviews de novo the portion of

the Recommendation to which the objection applies. 28 U.S.C. § 636(b)(1). For the

reasons that follow, the objection is due to be overruled, the Recommendation

adopted, and the motion denied.

                              I. BACKGROUND

      On April 19, 2012, Senior United States District Judge W. Harold Albritton

authorized law enforcement to continue to intercept wire communications over one

target telephone number and to begin to intercept communications over another.

(Doc. # 181, Ex. 1.) Agents continued surveillance pursuant to the order on Target

Telephone # 3 (“TT3”). Records indicated TT3’s subscriber was a person named

Hgthj Tiuy at an address in Irvine, California, but agents believed an alleged co-

conspirator, Delmond Lamar Bledson, used the phone. Agents began surveillance on
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Target Telephone # 4 (“TT4”). Though records listed the subscriber as Dave Daniels

at an address in Elmore, Alabama, law enforcement believed Defendant Willie Davis

was using TT4. (Doc. # 181, Ex. 1 at 44.)

      But as one might expect, the tale did not begin with TT3 and TT4. Months

earlier – in February and March 2012, respectively – Judge Albritton authorized

intercepts for two other numbers, TT1 and TT2, associated with the same alleged drug

trafficking conspiracy. In fact, the affidavit supporting the April 2012 wiretap

application for TT3 and TT4 reveals that law enforcement had been using wire

intercepts to investigate the alleged conspiracy as early as October, 2011. Information

gained from those wiretaps indicated that Defendant Willie Davis was involved in an

effort to distribute cocaine in and around Montgomery, Alabama, and ultimately led

officers to seek to intercept communications on TT4.

      Special Agent Devin Whittle of the United States Drug Enforcement

Administration (“DEA”) supported his application to start interception on TT4 and

continue interception on TT3 with a 157-page affidavit. In it, Agent Whittle recited

the nature of the offenses, demonstrated the need for interception, and detailed the

investigation up to that point. Among other things, Agent Whittle explained that the

ongoing intercepts on TT3 revealed calls between TT4 and TT3, and trained law

enforcement officers listening to those calls had reason to believe the callers were


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discussing drug trafficking. (See, e.g., Doc. # 181, Ex. 1, ¶¶ 29–40.) Additionally,

the affidavit recited telephone tolls analysis, which illustrated a high volume of calls

between TT3 and TT4 and between TT4 and a number associated with a known drug

trafficker. (Doc. # 181, Ex. 1 ¶¶ 53–56.) It also included background information on

some of the individuals thought to be part of the alleged conspiracy and information

gained from confidential informants.

      Weeks after Judge Albritton authorized the continued wiretap on TT3 and the

wiretap on TT4 based on Agent Whittle’s affidavit, federal law enforcement officers

secured nine search warrants and twelve arrest warrants using, in part, information

gained as a result of the April 2012 wiretaps. One of the search warrants authorized

officers to search Defendant Davis’s home, and one of the arrest warrants was for

Defendant Davis. Ultimately, a grand jury charged him with offenses related to an

alleged drug trafficking conspiracy. (Doc. # 201.)1

                                  II. DISCUSSION

      Defendant Davis moved to suppress the evidence gained from the wiretap on

TT4, arguing that the wiretap violated his Fourth Amendment right to be free from

unreasonable search and seizure. (Doc. # 181.) Likewise, he moved to suppress



      1
         An indictment handed down in August, 2012 (Doc. # 201) superseded the May 2012
indictment (Doc. # 1).

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evidence obtained during the search of his home on the basis that, without the wiretap

evidence, there was insufficient cause for a search warrant. (Doc. # 182.) The

Magistrate Judge concluded that there was probable cause to authorize the wiretap,

and, accordingly, neither the wiretap nor the search of Defendant’s home violated his

Fourth Amendment rights. (Doc. # 356.)

      Like a search warrant, a wiretap authorization requires probable cause. United

States v. Nixon, 918 F.2d 895, 900 (11th Cir. 1990); United States v. Degaule, 797 F.

Supp. 2d 1332, 1346 (N.D. Ga. 2011). Specifically, the issuing judge must have

probable cause to believe that an individual is committing or has committed a crime,

that the interception will lead to particular communications regarding the crime, and

that the target facilities are being used in connection with the offense or are commonly

used by a target individual. Degaule, 797 F. Supp. 2d at 1346 (citing 18 U.S.C. §

2518(3)). The probable cause determination is a “‘practical, common-sense decision’

about whether the ‘totality of the circumstances’ indicate that there is probable cause

that” the wiretap will lead to the evidence sought. Nixon, 918 F.2d at 900 (quoting

Illinois v. Gates, 462 U.S. 213, 238 (1983)).

      Defendant’s objection simply restates the arguments contained in his motions

to suppress. He argues that tips provided by informants were stale and unreliable, that

Agent Whittle intentionally mischaracterized intercepted conversations, and that


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without considering that information, there was not probable cause to support the

wiretap authorization.

A.    Information from Government Informants

      “[E]ven stale information is not fatal if the government affidavit updates,

substantiates, or corroborates the stale material.” United States v. Harris, 20 F.3d 445,

451 (11th Cir. 1994). Agent Whittle’s affidavit did just that for the information

gained from both informants, as law enforcement verified the informants’ report of

Davis’s criminal history. Likewise, communications intercepted from a wiretap

authorized earlier in the investigation – including conversations as late as March 25,

2012 to April 4, 2012 – suggested Davis was, as the informants told law enforcement

years earlier, “back in business.” (Doc. # 181, Ex. 1 ¶¶ 22–24.) Moreover, mature

information is more likely stale when the suspected crime is discrete and isolated,

rather than protracted or continuous in nature. Harris, 20 F.3d at 450. Large-scale

drug trafficking operations like the one alleged here are necessarily protracted and

continuous. United States v. Schimmel, 317 F. App’x 906, 909 (11th Cir. 2009).

      Additionally, the affidavit sufficiently established the informants’ reliability.

Not only did Agent Whittle corroborate much of the material information, he also

affirmed that the sources had previously provided reliable information.




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B.    Characterization of Conversations

      When considering wiretap applications, courts are entitled to rely on the

reasonable interpretations of experienced law enforcement officers as to the meaning

of coded language used by persons engaged in allegedly conspiratorial conversations.

See United States v. Flores, 1:05-cr-558-WSD-JFK, 2007 WL 2904109, at *24, n.16

(N.D. Ga. Sept. 27, 2007) (“If a jury can properly consider this evidence, a District

Judge may certainly take it into consideration in determining whether probable cause

exists to authorize communication intercepts.”). Agent Whittle has twenty-two years

experience investigating narcotics cases, sixteen of which have been at the federal

level. He averred that based on his experience, training, and knowledge, and based

on evidence gained from other authorized intercepts, the conversations between

Bledson and Davis that he included in his affidavit referenced drug activity. Based

on the content of the conversations, other information available to law enforcement

at that point in the investigation, and his experience, Agent Whittle’s interpretations

were not unreasonable. And they were proper considerations for the probable cause

determination.

      Importantly, a presumption of validity accompanies the affidavit supporting the

search warrant. Franks v. Delaware, 438 U.S. 154, 171 (1978); United States v.

Sarras, 575 F.3d 1191, 1218 (11th Cir. 2009). Assuming without deciding that Agent


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Whittle’s characterizations of the conversations are necessary to a finding of probable

cause, Defendant Davis has not made a substantial preliminary showing that Agent

Whittle made a false statement knowingly, intentionally, or with reckless disregard

for its truth. Sarras, 575 F.3d at 1218 (setting out standard for a Franks hearing).

Defendant argues that Agent Whittle “took seemingly innocuous discussions . . . and

intentionally misconstrued, mischaracterized and misinterpreted [them] in order to

attempt to create probable cause for the wiretap.” (Doc. # 181 at 15.) But his

argument fails to appreciate that neither Agent Whittle nor the court was interpreting

such discussions in a vacuum. Both enjoyed the context supplied by other information

lawfully obtained in the investigation at the time of the application and the benefit of

Agent Whittle’s experience.

      Defendant’s attack is “conclusory” and unaccompanied by “an offer of proof.”

See Franks, 438 U.S. at 171 (holding that, to mandate a Franks hearing, allegations

of falsehood should be accompanied by supporting evidence, including “[a]ffidavits

or sworn or otherwise reliable statements of witnesses,” or its “absence satisfactorily

explained”). Defendant has not established that he is entitled to a Franks hearing, nor

has he established that it was improper for the court to rely on the information.

      In the context of a wiretap, “a fair probability” that law enforcement will

intercept communications concerning the offense constitutes probable cause. See 18


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U.S.C. § 2518(3) (articulating the probable cause requirements for a wiretap); Gates,

462 U.S. at 238 (holding that “a fair probability that . . . evidence will be found in a

particular place” amounts to probable cause for a search warrant). Agent Whittle’s

affidavit taken as a whole – including the information from informants, his

interpretations of the conversations at issue, background information on Davis, and

telephone tolls analysis – established a fair probability a new intercept on TT4 would

lead to communications concerning drug trafficking.2

                                   III. CONCLUSION

       Accordingly, it is ORDERED as follows:

       1.     Defendant’s objection (Doc. # 419) is OVERRULED;

       2.     The Recommendation of the Magistrate Judge (Doc. # 356) is

              ADOPTED;

       3.     Defendant’s Motions to Suppress (Docs. # 181, 182) are DENIED.

       DONE this 28th day of January, 2013.

                                             /s/ W. Keith Watkins
                                     CHIEF UNITED STATES DISTRICT JUDGE




       2
          Having found that probable cause supported the interception authorization, the court
finds that Davis’s related motion to suppress evidence gained in the search of his home (Doc. #
182) is likewise due to fail.

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